            Case: 21-2977 Document:
Case 2:20-cv-10872-MAG-DRG  ECF No.71    Filed: 09/12/2024
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                  100 EAST FIFTH STREET, ROOM 540
   Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
         Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                  Filed: September 12, 2024




Ms. Kinikia D. Essix
Eastern District of Michigan at Detroit
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

                       Re: Case No. 21-2977, Kevin Lindke v. James Freed
                           Originating Case No. : 2:20-cv-10872

Dear Ms. Essix,

   Enclosed is a copy of the mandate filed in this case.

                                                  Sincerely yours,

                                                  s/Abby Bell Hahn
                                                  for Antoinette Macon, Case Manager

cc: Mr. Philip Lee Ellison
    Ms. Katherine Fallow
    Ms. Victoria Ferres
    Ms. Stephanie Krent
    Mr. Todd J. Shoudy

Enclosure
            Case: 21-2977 Document:
Case 2:20-cv-10872-MAG-DRG  ECF No.71    Filed: 09/12/2024
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 21-2977
                                           ________________

                                                                      Filed: September 12, 2024

KEVIN LINDKE

                Plaintiff - Appellant

v.

JAMES R. FREED, in his official and personal capacities

                Defendant - Appellee



                                            MANDATE

     Pursuant to the court's disposition that was filed 08/21/2024 the mandate for this case hereby

issues today.



 COSTS: None
